Case 2:11-cV-00362-.]AP-CG Document 1-2 Filed 04/29/11 Page 1 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RODERICK LUJAN, as Personal
Representative of the Estate of CLEOTILDE URIOSTE,

Plaintiff,

vs. No.

 

CORPORATION X, CORPORATION Y,
VISTA LIVING COMMUNITIES, LLC,
AN OHIO COMPANY, d/b/a THE ARBORS OF DEL REY,
JESUS ROBERTO DURAN, M.D.,
JOHN DOES 1-5 and JANE DOES l-5,
Defendants.
AFFIDAVIT OF STEVEN S. SCHOLL

I, Steven S. Scholl, on my oath, do hereby state and depose:

l. I am over the age of lS, l am an attorney in good standing and licensed in New
Mexico, l have personal knowledge of the facts stated in this Affidavit and I arn otherwise competent
to make this Affldavit.

2. I represent Defendant Vista Living Communities, LLC, an Ohio company, d/b/a The
Arbors of Del Rey (Defendant Vista).

3. On Thursday, April 28, 2011, l contacted Jesus Roberto Duran, M.D.

4. At the time I contacted Dr. Duran, he was unaware that he was named as a defendant
in the state court action filed by PlaintiffRoderick Lujan, as Personal Representative of the Estate
of Cleotiled Urioste captioned Lujan v. Vista Livz'ng Communities, LLC, et. al. , case number D-412-
CV-201100075 (“state court action”). l

5 . Dr. Duran confirmed that he has not been served with a Summons or copy of the

Complaint in the state court action; nor has Dr. Duran otherwise received a copy of the Complaint.
' ExHBlT `
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6. Dr. Duran is further unaware of any complaint filed with the New Mexico Medical
review commission against him by the Estate of Cleotilde Urioste and/or Roderick Luj an,
individually, and/or as Personal Representative of the Estate of Cleotilde Urioste.

7. One April 28, 2011, l reviewed the New Mexico Courts On-Line Case Look~up
(http://www2.nincourts.gov/caselookup/app) for Lujan v. Vista Livz'ng Communitz'es, LLC, et. al.,
case number D-412-CV-201100075. A copy of the online case docket for Lujan v. Vista Lz'vz`ng
Commum'tz`es, LLC, et. al. , case number D-412-CV-201100075 is attached hereto as Exhibit 1.

8. The on-line case docket for the state court action shows no filed return of service for
Defendant Jesus Roberto Duran, M.D.

9. The on-line case docket for the state court action shows no Summonses issued for
Defendants Corporation X, Corporation Y, -John Does 1-5 or Jane Does 1-5,

10. On April 28, 201 1, my office contacted a Court Clerk (“Helen”)at the Fourth Judicial
District Court, Las Vegas (#412), New Mexico.

11. The Court Clerk confirmed that no return of service for Defendant Jesus Roberto
Duran, M.D. had been filed in the state court action as of April 28, 2011.

12. The Court Clerk confirmed that no Summonses for Defendants Corporation X,
Corporation Y, John Does 1-5 or Jane Does 1-5 have been issued in the state court action as of April
28, 2011.

13. I have reviewed the Complaint to Recover Damages for Personal Injuries and
Wrongful Death Arising out of Negligence, Medical Negligence, Misrepresentation, Breach of

Contract, Unfair Trade Practices, Negligent Intliction of Emotional Distress, Violation of the

 

AFFIDAVIT OF STEVEN S. SCHOLL
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Resident Abuse and Neglect Act, and Loss of Consortiurn (“Complaint”) on filed on February 8,
2011, in the Fourth J udicial District Court, County of San Miguel, New Mexico (No. D-412-CV-
2011-00075).

14. Based upon my twenty~two (22) years of practicing law in New Mexico, trying
over fifty (50) cases in both New Mexico State courts and the United State District Court for the
- District of New Mexico and litigating approximately one hundred (100) medical malpractice
lawsuits, and upon my review of the facts, allegations and claims asserted iii the Complaint, my
opinion is that the matter in controversy exceeds the sum or value of $75,000.00, exclusive of
interest and costs.

15. Further, Affiant sayeth naught.

 

 

STATE. OF NEW MEXICO ' )
) ss.
COUNTY OF BERNALILLO l )

Subscribed and sworn to before me this 28§h ¢ay
\\yli`é’tary Pubiic §
My commission expires: “

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AFFIDAVIT OF STEVEN S. SCHOLL
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D-412-CV-201100075 - Thul‘sday, Api'il 28, 2011

 

Roderick Luj an
v.

Vista Living Communities, LLC, et. al.

CASE DETAIL

   
   

D-4lZ-CV-201100075 Mathis, Eugenio S. 02/08/2011 LAS VEGAS District

PARTIES TO THIS CASE

 
   

    

VISTA LIVING COMMUNITIES, LLC

D Defendant l

D Defendant 2 CORPORATION X

D Defendant 3 CORPORATION Y

D Defendant 4 AN OHlO COMPANY

D Defendant 5 DURAN JESUS ROBERTO
DC Decedent 1 URIOSTE CLEOTILDE

P Plain\iff l LUJAN RODERICK

ATTORNEY: ROMERO DAVE ELO\'
ATTORNEY: CHELPATY TlM
ATTORNEY: KAUFFMAN GREGORY R.
PR Personal Representative l LUJAN RODERICK
ATTORNEY: ROMERO DAVE ELOY
ATTORNEY: CHELPATY TIM
ATTORNEY: KAUFFMAN GREGORY R.

 

OMP
02/08/2011 l OPN: COMPLA T

 

l Tort: Personal Injury Non Auto

 
 

LUJAN RODERICK P l
VISTA LIVING COMMUNITIES, LLC D l

 

DES RI 0
02/08/2011 ` 2 OPN: COMPLAINT

 

l Wrongful Death, Non-Auto

 

02/08/2011 3 OPN: COMPLAINT

way

   
 

 

 

 

 

 

 

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02/08/201 l 5 OPN: COMPLAINT

 

1 Miscellaneous

0 .DES RIP 0
1 Breach of Contract

 

 

 
   

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02/08/201 l 7 OPN: COMPLAlNT

 

O DES

1 Miscellaneous

 

OM IN
02/08/2011 8 OPN; COMPLAINT

 

l Miscellaneous

 

02/08/2011 9 OPN: COMPLAINT

 

0 .DES RIP 0

l Loss of Consortium

 

03/22/201 l
lssued to CT Corporation System
03/22/201 l
Issued to Jesus Duran
02/16/201 l NTC: IUDGE ASSIGNMENT
Notice ofJudge Assignment; Judge Mathis assigned to case due to Recusal ofJudge Sandoval
02/16/2011 IDG: IUDGE RECUSAL
Notice ofVoluntary Recusal; from Judge Sandoval
02/08/2011 OPN: COMPLAINT

Complaint to Recover Damages for Personal Injuries and Wrongful Death Arising out ofNegligence, Medical Negligence, Misrepresentation, Breach of Contract,

Unfair Trade Practices, Negligent Infliction of Emotional Dis\ress, Violation ofResident Abuse and Neglect Act, and Loss of Consortiurn

 
   

~ ~ , Q a~ SSI c . , / .
02/08/20] l Sandoval, Matthew J. l INITIAL ASSlGNMENT
02/16/2011 Mathis, Eugenio S. 2 ludge Recused

 

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